Case 2:18-cv-10694-PSG-PJW Document 46 Filed 03/18/20 Page 1 of 3 Page ID #:575
Case"




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      4                                                                      E-FILED
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                                                                   Document#
      8                          UNITED STATES DISTRICT COURT
     9                         CENTRAL DISTRICT OF CALIFORNIA
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  11       DEBRA J. CRISP-STOOT, an                      CASE NO.: 2:18-cv-10694PSG (PJWx)
           individual,
  12
                                Plaintiff,               [P     ED] ORDER GRAN
                                                         S IPULATION FOR ORDER TIN G
  13
           ►~                                                                  TO
 14                                                      CONTINUE TRIAL AND PRE-
          WAL-MART STORES, INC.; and                     TRIAL DATES
 15       DOES 1 through 50, inclusive,
 16                                                      Courtroom:       6A
                               Defendants.               District Judge: Philip S. Gutierrez
 17                                                      Magistrate Judge:Patrick J. Walsh
                                                         Complaint Filed: Apri123, 2018
 18                                                      Trial Date:      Apri128, 2020
 19             After reviewing the stipulation of the parties to
                                                                      continue trial and pre-trial
 20       dates and upon a finding of GOOD CAUSE,
                                                           the Court hereby GRANTS the parties
21        request and continues the following dates:
22              a.     Trial to be continued from Apri128, 2020 to
                                                                         August 25, 2020.
23 ~I           b.    Final Pretrial Conference to be continued from
                                                                            April 13, 2020 to
24 I                   August 17, 2020.
25 I            Based on the foregoing, good cause exists to con
                                                                      tinue the trial.
26              All other trial and pretrial dates shall be continu
                                                                   ed as follows:
27 ~ ///

28 ~ ///

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Case ~ N18-cv-10694-PSG-PJW Document 43-5 Filed 03/13/20 Page 2 of 3 Page ID #:349


    1                            Existing Due              New Dates Proposed by
    2                              ate/Hearin Date         Parties
         Trial                    Apri128,2020 at 9:00     August 25, 2020 at 9:00
    3
                                  a.m.                     a.m.
   4     Pretrial Conference      April 13, 2020 at 2:30   August 17, 2020 at 2:30
                                  p.m.                     p.m.
    5
         Non-Expert Discovery January 21, 2020             May 19, 2020
   6     Cutoff(limited to
    7    Plaintiff's future
         treatment)
    8
         Last Day to File         February 4, 2020         June 2, 2020
   9     Motions (limited to
   10    Plaintiffls future
         treatment)
   11    Expert Discovery         March 17, 2020.          August 14, 2020
   12    Cutoff
   13    Motions in Limine        March 13, 2020           July 10, 2020
         Filing Deadline
   14    Lodge Pretrial           Apri16, 2020             August 10, 2020
   15    Conference Order
         File Agreed Set of Jury April 10, 2020            August 7, 2020
   16
         Instructions
   17    File Statement           Apri17, 2020             August 4, 2020
   18    Regarding Disputed
         Instructions, Verdicts,
   19
         etc.
  20     File Memo of             March 23, 2020           July 27, 2020
  21     Contentions of Fact and
         Law: Exhibit &Witness
  22     Lists
  23
  24
  25    IT IS SO ORDERED.

  26
  2~
        Dated:       1
                    3 /e/Z~-~
                                                   The Honorable Philip S. Gutierrez
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 Case 2:18-cv-10694-PSG-PJW Document 46 Filed 03/18/20 Page 3 of 3 Page ID #:577
Case 2'18-cv-10694-PSG-PJW Document 43-5 Filed 03/13/20 Page 3 of 3 Page ID #:350



    1                            CERTIFICATE OF SERVICE
   2
   3          I hereby certify that the following document(s):
          • PROPOSED ORDER RE STIPULATION TO CONTINUE TRIAL
   4
   5    was/were served on this date to counsel ofrecord:
   6         []     BY MAIL: By placing a copy ofthe same in the United States Mail,
                    postage prepaid, and sent to heir last known addresses)listed below.
    ~        []     BY E-MAIL DELIVERY: Based on an agreement of the parties to
    g               accept service by e-mail or electronic transmission, I sent the above
                    document(s~ to the person(s) at the e-mail addresses) listed below. I
   9                did not receive, within a reasonable amount oftime after the
                    transmission, any electronic message or other indication that the
                    transmission was unsuccessful.
   10

   11        [ X] BY ELECTRONIC TRANSMISSION: I electronically filed the
                  above documen_t~s~ with the Clerk of the Court using the CM/ECF
                  system. The CM/ECF system will send notification ofthis filing to the
   12             persons)listed below.
   13   Siamak Vaziri, Esq.
        Mark J. Giannamore, Esq.
   14   VAZIRI LAW GROUP,APC
        A Professional Law Corporation
   15   5757 Wilshire Blvd., Ste. 670
        Los Angeles, CA 90036
   16   Tel:(310)777-7540
   1~   Fax:(310)777-0373
        Email:
   1g   Attorneys for Plaintiff
        DEBRA J. CRISP-STOOT
   19
  20          Executed on March 13,2020 at Los Angeles, California.

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